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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v. HON. ROYCE C. LAMBERTH
RAUL JARRIN : CASE NO. 21-cr-153 (RCL)
Defendant.
STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure | 1, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Raul JARRIN, with the concurrence of his attorneys, agree and stipulate to the below factual basis
for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate
that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is secured
twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol include
permanent and temporary security barriers and posts manned by USCP. Only authorized people
with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in the Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,

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which had taken place on Tuesday, November 3, 2020. The joint session began at approximately
1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and Senate adjourned to
separate chambers to resolve a particular objection. Vice President Mike Pence was present and
presiding, first in the joint session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside.

5. At approximately 2:00 PM, certain individuals in the crowd forced their way through,
up, and over the barricades. Officers of the USCP were forced to retreat and the crowd advanced
to the exterior fagade of the building. The crowd was not lawfully authorized to enter or remain in
the building and, prior to entering the building, no members of the crowd submitted to security
screenings or weapons checks as required by USCP officers or other authorized security officials.

6. Atsuch time, the certification proceedings were still underway, and the exterior doors
and windows of the Capitol were locked or otherwise secured. Members of the USCP attempted
to maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 PM,
individuals in the crowd forced entry into the Capitol, including by breaking windows and by
assaulting members of law enforcement, as others in the crowd encouraged and assisted those acts.
The riot resulted in substantial damage to the Capitol, requiring the expenditure of more than $1.4

million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 PM, members of the House of Representatives

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and of the Senate, including the President of the Senate, Vice President Pence, were instructed
to—and did—evacuate the chambers. Accordingly, all proceedings of the United States Congress,
including the joint session, were effectively suspended unti! shortly after 8:00 PM on January 6,
2021. In light of the dangerous circumstances caused by the unlawful entry to the Capitol—
including the danger posed by individuals who had entered the Capitol without any security
screening or weapons check—Congressional proceedings could not resume until after every
unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that the
building was secured. The proceedings resumed at approximately 8:00 PM after the building had
been secured. Vice President Pence remained in the Capitol from the time he was evacuated from
the Senate Chamber until the session resumed.
Raul Jarrin’s Participation in the January 6, 2021, Capitol Riot

8. The defendant, Raul JARRIN, lives in Houston, Texas. On January 5, 2021, JARRIN
traveled to Washington, D.C., via airplane. The purpose of the defendant’s trip to Washington,
D.C., was to protest Congress’ certification of the Electoral College.

9. On January 6, the defendant attended the “Stop the Steal” rally and then marched with
other protestors to the Capitol.

10. At about 2:45 PM., the defendant approached the Capitol from the East Front of the
Capitol, entering the building through the East Front House Door. While inside, the defendant
stood near his point of entrance, taking photographs of the inside of the Capitol with his cellular

telephone. He remained inside of the Capitol for approximately fifteen seconds.

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Elements of the Offense

Raul JARRIN knowingly and voluntarily admits to all the elements of Title 40,

United States Code, Section 5104(e)(2)(G). Specifically, the defendant admits that he willfully and

knowingly entered the U.S. Capitol Building knowing that he did not have permission to do so.

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“Defendant further admits that while inside the Capitol, he willfully and knowingly paraded inside

of the Capitol.

By:

Respectfully submitted,

MATTHEW M. GRAVES
United States Attorney
D.C. Bar No. 481052

/s/ Brittany L. Reed

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DEFENDANT’S ACKNOWLEDGMENT

I, Raul Jarrin, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am [ under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.

Date: 92/07/2023 SE

RAUL JARRIN
Defendant

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

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KEXT SCHAFFER
Attorney for Defendant

Date: 2/7/2023 — AAUP, ——>
JAMES M. KENNE

Attorney for Defendant

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